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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


Dylan James Stellick,                                       File No. 22-cv-850 (ECT/JFD)

               Plaintiff,

v.                                                     ORDER ACCEPTING REPORT
                                                        AND RECOMMENDATION
DOC,

           Defendant.
________________________________________________________________________

       Magistrate Judge John F. Docherty issued a Report and Recommendation on May

24, 2022. ECF No. 7. No party has objected to that Report and Recommendation, and it

is therefore reviewed for clear error. See Fed. R. Civ. P. 72(b); Grinder v. Gammon, 73

F.3d 793, 795 (8th Cir. 1996) (per curiam). Finding no clear error, and based upon all of

the files, records, and proceedings in the above-captioned matter, IT IS ORDERED

THAT:

       1.      The Report and Recommendation [ECF No. 7] is ACCEPTED;

       2.      Petitioner Dylan James Stellick’s Petition for Writ of Habeas Corpus [ECF

No. 1] is DISMISSED WITHOUT PREJUDICE;

       3.      Petitioner Dylan James Stellick’s Application to Proceed in District Court

Without Prepaying Fees or Costs [ECF No. 2] is DENIED AS MOOT; and

       4.      No certificate of appealability is issued.



Dated: June 27, 2022                        s/ Eric C. Tostrud
                                            Eric C. Tostrud
                                            United States District Court
